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       INTERFOCUS, INC. d.b.a.
  10   www.patpat.com
  11
                            UNITED STATES DISTRICT COURT
  12
                          CENTRAL DISTRICT OF CALIFORNIA
  13
  14
     NEMAN BROTHERS & ASSOC.,                     Case No. 2:20-cv-11181-CAS-JPR
  15 INC., a California Corporation,
                                                  ANSWER TO FIRST AMENED
  16               Plaintiff,                     COMPLAINT BY DEFENDANTS
                                                  INTERFOCUS, INC., d.b.a.
  17         v.                                   WWW.PATPAT.COM
  18 INTERFOCUS, INC. d.b.a.                      DEMAND FOR JURY TRIAL
     www.patpat.com, a Delaware
  19 Corporation; CAN WANG, and                   (The Hon. Christine A. Snyder)
     individual, and DOES 1-10, inclusive,
  20                                              Amended Complaint filed January 5,
                  Defendants.                     2021
  21
  22
             Defendants InterFocus, Inc., d.b.a. www.patpat.com (“InterFocus” or
  23
       “Defendant”), by and through its counsel Rimon, P.C., answers the First Amended
  24
       Complaint filed herein by Neman Brothers & Assoc., Inc. on or about January 5,
  25
       2021, and styled the “Complaint” herein, as set forth below.
  26
  27
  28

             ANSWER TO FIRST AMENDED COMPLAINT BY DEFENDANTS INTERFOCUS, INC., d.b.a.
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   1                            ADMISSIONS AND DENIALS
   2         1.    Defendant admits the allegations of paragraph 5 of the
   3 Complaint. With regard to the allegations of paragraph 6 of the Complaint,
   4 Defendant admits that Can Wang is an individual. Defendant denies all other
   5 allegations in paragraph 6.
   6         2.    Paragraphs 1-3and 7 through 9of the Amended Complaint state legal
   7 conclusions that do not require a response from Defendant, and paragraphs 28, 35,
   8 and 41 are incorporating paragraphs that do not require a response from
   9 InterFocus. To the extent a response is required, InterFocus denies the allegations
  10 set forth in said paragraphs.
  11         3.    Defendant is without knowledge or information sufficient to form a
  12 belief as to the truth of the allegations in paragraphs 4, 10-13 and 14-17 of the
  13 Complaint, and therefore denies said allegations.
  14         4.    Defendant denies all of the remaining allegations set forth in the
  15 Complaint.
  16                               AFFIRMATIVE DEFENSES
  17         5.    Defendant asserts the following affirmative defenses. By designating
  18 said defenses as affirmative, Defendant does not concede that they bear the burden
  19 of proof with respect to any such defense, and does not intend to and does not alter
  20 the burden of proof on such matters to the extent the burden rests on Plaintiff.
  21                          FIRST AFFIRMATIVE DEFENSE
                                        (Release)
  22
  23         6.    Plaintiff previously filed suit against InterFocus alleging copyright
  24 infringement of the same designs at issue in this case in that certain action entitled
  25 Neman Brothers & Associates, Inc. v. InterFocus, Inc., Case No. 2:29-cv-10112.
  26 The parties into a settlement agreement (the “Settlement Agreement”) in which,
  27 inter alia, Plaintiff released Defendants from liability for all alleged acts of
  28 infringement involving the fabric designs at issue in that case and this one occurring
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   1 up to and including March 23, 2020. InterFocus has fully complied with its
   2 obligations under the Settlement Agreement. Plaintiff has therefore released
   3 Defendant from liability for claims asserted against it herein, and the Complaint is
   4 barred by that release.
   5                         SECOND AFFIRMATIVE DEFENSE
                               (Failure of Condition Precedent)
   6
             7.     The Settlement Agreement requires Neman Brothers to give InterFocus
   7
       adequate notification in writing of any alleged infringement occurring after its entry
   8
       into the Settlement Agreement, and to allow InterFocus seven business days from
   9
       receipt of such notification to cure the alleged infringement, before filing suit
  10
       against Interfocus for any alleged infringement. Neman Brothers breached the
  11
       Settlement Agreement by filing this suit after InterFocus cured those alleged
  12
       infringements of which Neman Brothers gave InterFocus notice, and without
  13
       providing adequate notification of other alleged infringement to InterFocus. The
  14
       Complaint is barred by Neman Brothers’ failure to comply with the conditions
  15
       precedent to filing this action set forth in the Settlement Agreement.
  16
                               THIRD AFFIRMATIVE DEFENSE
  17                                (Waiver and Estoppel)
  18         8.     Plaintiff’s claims are barred by the doctrines of waiver and estoppel.
  19                         FOURTH AFFIRMATIVE DEFENSE
  20                           (Lack of Substantial Similarity)
  21         9.     Plaintiff cannot prevail on its copyright infringement claims because

  22 the allegedly infringing goods are not substantially similar to any elements
  23 contained in Plaintiff’s alleged copyright works that are original to Plaintiff and
  24 protectable by copyright law. Plaintiff’s claims are barred, in whole or in part,
  25 because the elements allegedly copied, if any, are scènes à faire and the amount
  26 copied, if any, was de minimis, and because any alleged similarities involve
  27 common floral patterns that predate Plaintiff’s alleged creations by centuries, if not
  28 millennia, and any similarities are necessary to convey the universal idea of flowers,
                                                2
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   1 and therefore lack the requisite sufficient original creative expression to qualify for
   2 copyright protection.
   3                           FIFTH AFFIRMATIVE DEFENSE
                                     (Lack of Standing)
   4
             10.    Plaintiff lacks standing to bring claims for copyright infringement as
   5
       Plaintiff is not the author or creator of the designs it alleges Defendants infringed in
   6
       the Complaint.
   7
                               SIXTH AFFIRMATIVE DEFENSE
   8                                 (Lack of Originality)
   9         11.    Plaintiff’s designs are not protected by copyright because they are not
  10 original works of authorship authored or created by Plaintiff.
  11                      SEVENTH AFFIRMATIVE DEFENSE
  12                               (Independent Creation)
  13         12.    The fabric designs that form the basis of Plaintiff’s copyright

  14 infringement claims were independently created without access to or knowledge of
  15 Plaintiff’s designs, and therefore do not support Plaintiff’s copyright infringement
  16 claims.
  17                          EIGHTH AFFIRMATIVE DEFENSE
                                     (Unclean Hands)
  18
             13.    Plaintiff’s claims are barred by the equitable doctrine of unclean hands.
  19
                               NINTH AFFIRMATIVE DEFENSE
  20                            (Invalid Copyright Registrations)
  21         14.    Plaintiff’s copyright infringement claims are barred because the
  22 copyright registrations Plaintiff alleges Defendants have infringed are invalid and/or
  23 unenforceable.
  24                          TENTH AFFIRMATIVE DEFENSE
                                (Fraud on the Copyright Office)
  25
             15.    InterFocus is informed and believes, and on that basis alleges, that
  26
       Plaintiff’s claims are barred in whole or in part by Plaintiff’s fraud and/or deception
  27
       in the copyright registrations process, which, upon information and belief, includes,
  28
                                                  3
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   1 among other things, misrepresenting to the U.S. Copyright Office that Plaintiff is the
   2 owners or of copyright in the fabric designs at issue in this action, that said designs
   3 are original works of authorship by Plaintiff and Plaintiff failed to identify
   4 preexisting works, for which a reasonable opportunity for investigation or discovery
   5 is likely to provide evidentiary support.
   6                        ELEVENTH AFFIRMATIVE DEFENSE
                                 (Failure to State a Claim)
   7
             16.    Plaintiff’s claims are barred, in whole or in part, because the Complaint
   8
       fails to state a claim for which relief can be granted.
   9
                            TWELFTH AFFIRMATIVE DEFENSE
  10                          (Good Faith and Innocent Intent)
  11         17.    Plaintiff’s claims are barred, in whole or in part, by reason of the
  12 justified, good faith conduct and innocent intent by InterFocus.
  13                     THIRTEENTH AFFIRMATIVE DEFENSE
  14                                (Reservation of Rights)
  15         18.     Defendants reserve the right to assert other affirmative defenses which

  16 may become evident or appropriate after discovery.
  17
  18         WHEREFORE, Defendant respectfully demands judgment judgement (i)

  19 dismissing Neman Brothers’ Amended Complaint; (ii) awarding InterFocus all
  20 costs, disbursements, expenses, damages, and attorneys’ fees it incurs in defending
  21 this action, with interest thereon; and (iii) awarding InterFocus such other, further
  22 relief as this Court deems just and proper.
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   1 Dated: February 19, 2021                  RIMON, P.C.
   2
                                          By: /s/ Mark S. Lee
   3                                          Mark S. Lee
   4                                          Zheng Liu
                                               Attorneys for Defendants
   5
                                               INTERFOCUS, INC. d.b.a.
   6                                           www.patpat.com
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   9
  10
  11                           DEMAND FOR JURY TRIAL

  12        Defendants demand a jury trial on all claims and defenses triable to a jury.

  13
  14 Dated: February 19, 2021                  RIMON, P.C.

  15                                      By: /s/ Mark S. Lee
  16                                          Mark S. Lee
                                              Zheng Liu
  17
  18                                           Attorneys for Defendants
                                               INTERFOCUS, INC. d.b.a.
  19                                           www.patpat.com
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